Case 1:16-cv-23170-FAM Document 224 Entered on FLSD Docket 10/10/2018 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SO UTH E RN D ISTR ICT O F FLO RIDA
                                        M iam iDivision
                               CaseNo.:1:16-cv-23170-M ORENO

  ELLIOT GELBER,&
  allothers sim ilarly situated,

         Plaintiffs,                                     FIN A L JU D G M EN T


 AKAL SECURITY,INC.,

         Defendant.
                                              /
        FinalJudgmentisentered in favorofthePlaintiffslisted below and againsttheDefendant
 AkalSecurity,Inc.,7 lnfinity Loop, Espanola,New M exico,87532, for which 1et execution
 issue forthw ith,as follow s:
     JorgeAguilar- $1,006.01                      11 AlejandroM elo-$274.
                                                    .
                                                                        64
     SandraAm eneiro - $0.00                      12 Lazaro M orera- $529.66
                                                    .


     Cassandra Baker- $1,289.76                   13. LuisPagan - $3,850.57
 4. SylviaBatista- $3,230.54                      14. ReyRi
                                                          jos- $1,203.71
    Ruben Catala - $0.00                          15. AnewrysRosario - $37.73
 6. FaraDiaz- $3,886.61                           16 M agalieSantiago- $2,656.03
                                                    .


 7. ElliottGelber- $1,374.46                      17. CarlosTolentino - $1,620.43
 8. Sigfredo Hernandez- $2,469.77                 18. JeanValbnm - $0.00
 9. AngelLopez- $3,318.81                         19 M onicaVila - $3,946.10
                                                    .


 10.JenniferM aciolek- $0.00                      20 Ruben Yero - $0.00
                                                    .


         Pursuantto 28U.S.C.j 1961,post-judgmentinterestshallaccnleat2.59% peryearuntil
 satisfied.TheCourtreservesjurisdictiontoawardprevailingparty attorney'sfeesandcosts.
                                       &
        DONE in M iam i,Floridathis>    day ofOctober, 2018.



                                                  FED E    A .M OR EN O
                                                  UNIT D STATES DISTRICT JUDGE
 Copiesto:CounselofRecord
